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            IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:10CR158
                              )
          v.                  )
                              )
THOMAS DASHER,                )                       ORDER
                              )
               Defendant.     )
______________________________)


           On January 16, 2014, the defendant appeared through

counsel on a motion for reduction of sentence (Filing No. 604)

filed by plaintiff pursuant to Rule 35 of the Federal Rules of

Criminal Procedure.     Defendant was presented by James R. Kozel,

and plaintiff was represented by Thomas J. Kangior.

           After considering the comments of the parties and after

evaluating the assistance provided by the defendant, the Court

finds plaintiff’s motion should be granted.             Accordingly,

           IT IS ORDERED:

           1) Plaintiff’s motion is granted.

           2) The defendant’s term of supervised release is

reduced from 5 years to 3 years.         All other terms and conditions
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of the judgment and committal order dated June 24, 2011 (Filing

NO. 362), remain in full force and effect.

           DATED this 21st day of January, 2014.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
